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January 12, 2021                                                        So ordered,

                                                                        /s/ Hon. Alvin K. Hellerstein
BY ECF                                                                  Jan. 12, 2021
The Honorable Alvin K. Hellerstein
United States District Court
 for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007-1312

               Re:       Girl Scouts of the United States of America v. Boy Scouts of America
                         18-cv-10287 (AKH)

Dear Judge Hellerstein:

         We are counsel to plaintiff Girl Scouts of the United States of America (“Girl Scouts”) in
the above-referenced matter. We write pursuant to Rule 21.7(b) of the Electronic Case Filing
Rules and Instructions and the Court’s Individual Rule 4 to ask that two filed versions of Girl
Scouts’ memorandum of law in opposition (the “Opposition”) to the summary judgment motion of
defendant Boy Scouts of America (“Boy Scouts”) be sealed. See Dkt. 140 (filed 12/23/2020),
159 (filed 01/06/2021). Due to an inadvertent error, the Opposition quotes from or refers to
material that the Court has ordered sealed. See Dkt. 162 (Order).

        By way of background, on December 23, 2020, Girl Scouts publicly filed its submissions
in opposition to Boy Scouts’ summary judgment motion, including the Opposition. Dkt. 140. On
January 6, 2021, Girl Scouts re-filed the Opposition because Boy Scouts had pointed out that
certain discrete excerpts in the brief had been redacted when they should not have been. Dkt.
159.

       Yesterday, at 5:29 p.m., counsel for Boy Scouts wrote to us, asserting that three
passages in the Opposition contain sealed information. These three passages had appeared in
Girl Scouts’ December 23 Opposition, but Boy Scouts did not seek to have those specific
passages redacted before yesterday, including in its January 7, 2021 motion to seal, which
sought sealing of numerous other portions of the Opposition. Dkt. 160 at 4. Nonetheless,
because these isolated passages do quote from or reference underlying documents that the
Court has sealed, Dkt. 162, Girl Scouts believes these passages should be sealed.

        Therefore, shortly after receiving counsel’s email, we attempted to contact the ECF Help
Desk telephonically, but there was no answer, presumably due to the hour. We also sent an
email to the Help Desk on these issues at 7:03 p.m. yesterday. This morning, we again called
the Help Desk, but did not reach anyone. Then, at 8:48 a.m., we received a response from the
Help Desk, stating, “Documents 140 and 159 have been placed under emergency seal. Please



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refer to our ECF rules and instructions to file a formal request to the Judge to keep the
document under permanent seal.”

       For all of these reasons, we ask that the Court seal both the December 23, 2020 and
January 6, 2021 iterations of the Opposition. Dkt. 140, 159. Upon the issuance of a sealing
Order, Girl Scouts will file a public version of the Opposition from which the three passages
addressed by Boy Scouts and one additional minor passage have been redacted.

       Girl Scouts thanks the Court for its time and attention to this matter.


                                                      Respectfully Submitted,

                                                      /s/ Bruce R. Ewing

                                                      Bruce R. Ewing

Cc: All Counsel of Record (by ECF)




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